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                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF MAINE


BRIDGETT PARKER                              )
                                             )
       Plaintiff                             )
                                             )
               v.                            )        2:17-cv-00216-GZS
                                             )
JOSHUA DALL-LEIGHTON, et als.                )
                                             )
                                             )
       Defendants                            )



    ANSWER OF DEFENDANTS SCOTT LANDRY, RANDALL LIBERTY, JOSEPH
                  FITZPATRICK AND STATE OF MAINE


       Defendants Scott Landry, Randall Liberty, Joseph Fitzpatrick and State of Maine respond

to the complaint as follows:

       1. Paragraph 1 of the Complaint states a legal conclusion, and no response is required.

       2. Paragraph 2 of the Complaint states a legal conclusion, and no response is required.

       3. Defendants neither admit nor deny the allegation in Paragraph 3 for lack of sufficient

knowledge and information.

       4. Defendants admit that Dall-Leighton was employed by the Department of Corrections

at the time of the events alleged in the Complaint but deny that the actions alleged were within

the scope of his employment.

       5. Defendants admit that Scott Landry was the warden of the Maine Correctional Center

at the time of the events alleged in the Complaint. The remaining statements in this paragraph

are legal conclusions, and no response is required.



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       6. Defendants admit that Randall Liberty was the warden of the Maine State Prison at

the time of the events alleged in the Complaint. The remaining statements in this paragraph are

legal conclusions, and no response is required.

       7. Defendants admit that Renee Shanks was employed by the Department of Corrections

at the time of the events alleged in the Complaint. The remaining statements in this paragraph

are legal conclusions, and no response is required.

       8. . Defendants admit that Joseph Fitzpatrick was the Commissioner of the Department

of Corrections at the time of the events alleged in the Complaint. The remaining statements in

this paragraph are legal conclusions, and no response is required.

       9. Paragraph 9 of the Complaint states legal conclusions, and no answer is required.

       10. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       11. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       12. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       13. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       14. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       15. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       16. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       17. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       18. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       19. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       20. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       21. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       22. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       23. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       24. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       25. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       26. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       27. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       28. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       29. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       30. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       31. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       32. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       33. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       34. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       35. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       36. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       37. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       38. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       39. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       40. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       41. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       42. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       43. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       44. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       45. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       46. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       47. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       48. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       49. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       50. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       51. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       52. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       53. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       54. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       55. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       56. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       57. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       58. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       59. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       60. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       61. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       62. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       63. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       64. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       65. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       66. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       67. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       68. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       69. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       70. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       71. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       72. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       73. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       74. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       75. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       76. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       77. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       78. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       79. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       80. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       81. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       82. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       83. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       84. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       85. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       86. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       87. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       88. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       89. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       90. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       91. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       92. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       93. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       94. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       95. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       96. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       97. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       98. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       99. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       100. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       101. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       102. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       103. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       104. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       105. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       106. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       107. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       108. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       109. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       110. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       111. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       112. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       113. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       114. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       115. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       116. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       117. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       118. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       119. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       120. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       121. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       122. Defendants admit that correctional authorities conducted an investigation into

plaintiff’s allegations. Defendants neither admit nor deny the remaining allegation in this

paragraph for lack of sufficient knowledge and information.

       123. Defendants admit that plaintiff cooperated to some extent with the investigation.

Defendants neither admit nor deny the remaining allegations in this paragraph for lack of

sufficient knowledge and information.

       124. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       125. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       126. Defendants admit that plaintiff showed the criminal investigator some locations

where the alleged events occurred.

       127. Defendants admit that a criminal investigation began in May, 2016. Defendants

neither admit nor deny the remaining allegation in this paragraph for lack of sufficient

knowledge and information.

       128. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       129. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       130. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       131. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       132. Defendants deny the allegation in this paragraph.

       133. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       134. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       135. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.




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       136. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       137. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       138. Defendants admit the allegation in Paragraph 138 of the Complaint.

       139. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       140. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       141. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       142. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       143. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       144. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       145. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       146. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       147. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.



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       148. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       149. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       150. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       151. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       152. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       153. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       154. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       155. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       156. Defendants repeat their responses to Paragraphs 1 to 155 of the Complaint.

       157. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       158. Defendants deny the allegations in Paragraph 158 of the Complaint.

       159. Defendants deny the allegations in Paragraph 159 of the Complaint.

       160. Defendants repeat their responses to Paragraphs 1 through 159 of the Complaint.




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       161. To the extent that this paragraph contains conclusions of law, no response is

required. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       162. To the extent that this paragraph contains conclusions of law, no response is

required. Defendants deny the allegations in Paragraph 162 of the Complaint.

       163. Defendants deny the allegations in Paragraph 163 of the Complaint.

       164. Defendants repeat their responses to Paragraphs 1 through 164 of the Complaint.

       165. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       166. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       167. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       168. Defendants deny the allegations in Paragraph 168 of the Complaint.

       169. Defendants repeat their responses to Paragraphs 1 through 168 of the Complaint.

       170. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       171. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       172. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       173. Defendants deny the allegations in Paragraph 173 of the Complaint.

       174. Defendants repeat their responses to Paragraphs 1 through 173 of the Complaint.



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      175. Defendants deny the allegations in Paragraph 174 of the Complaint.

      176. Defendants deny the allegations in Paragraph 175 of the Complaint.

      177. Defendants repeat their responses to Paragraphs 1 through 176 of the Complaint.

      178. Defendants deny the allegations in Paragraph 178 of the Complaint.

      179. Defendants deny the allegations in Paragraph 179 of the Complaint.

      180. Defendants repeat their responses to Paragraphs 1 through 180 of the Complaint.

      181. Defendants deny the allegations in Paragraph 181 of the Complaint.

      182. Defendants deny the allegations in Paragraph 182 of the Complaint.

      183. Defendants repeat their responses to Paragraphs 1 through 182 of the Complaint.

      184. Defendants deny the allegations in Paragraph 184 of the Complaint.

      185. Defendants repeat their responses to Paragraphs 1 through 184 of the Complaint.

      186. Defendants deny the allegations in Paragraph 186 of the Complaint.

      187. Defendants repeat their responses to Paragraphs 1 through 186 of the Complaint.

      188. Defendants deny the allegations in Paragraph 188 of the Complaint.

      189. Defendants deny the allegations in Paragraph 189 of the Complaint.

      190. Defendants repeat their responses to Paragraphs 1 through 189 of the Complaint.

      191. Paragraph 191 states a conclusion of law, and no response is required.

      192. Defendants deny the allegation in Paragraph 192 of the Complaint.

      193. Defendants deny the allegation in Paragraph 193 of the Complaint.

      194. Defendants deny the allegations in Paragraph 194 of the Complaint.

      195. Defendants deny the allegations in Paragraph 195 of the Complaint.

      196. Defendants deny the allegations in Paragraph 196 of the Complaint.

      197. Defendants repeat their responses to Paragraphs 1 through 196 of the Complaint.



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       198. Paragraph 198 states a legal conclusion, and no response is required.

       199. Defendants deny the allegations in Paragraph 199 of the Complaint.

       200. Defendants repeat their responses to Paragraphs 1 through 199 of the Complaint.

       201. Defendants neither admit nor deny the allegations in this paragraph for lack of

sufficient knowledge and information.

       202. Defendants deny the allegations in Paragraph 202 of the Complaint.

       203 – 210. These paragraphs state claims for relief, and no response is required.

       WHEREFORE, defendants request that the court enter judgment in their favor and that

they be awarded costs and attorney fees.

                                    AFFIRMATIVE DEFENSES

       1. The complaint fails to state a claim upon which relief can be granted as to these

defendants.

       2. The State of Maine is not a proper party.

       3. To the extent the Complaint sets forth federal constitutional claims, these defendants

are entitled to qualified immunity.

       4. To the extent that the Complaint sets forth claims arising under state law, these

defendants are entitled to absolute or discretionary immunity.

       5. To the extent that the Complaint sets forth claims arising under state law, the plaintiff

herself was at fault to a degree that her recovery must be barred or reduced.

       6. Plaintiff’s claim for punitive damages is barred by the prospective relief provisions of

the Prison Litigation Reform Act.




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       7. Any claims arising under state law are barred by plaintiff’s failure to comply with the

requirements of the Maine Tort Claims Act.




July 6, 2017                                        __/s/ James E. Fortin___
                                                    James E. Fortin
                                                    Assistant Attorney General
                                                    James.Fortin@maine.gov

Office of the Attorney General
Six State House Station
Augusta, ME 04333
626-8800

                                      Certificate of Service

       The undersigned hereby certifies that he electronically filed the above document with the
Clerk of Court using the CM/ECF system, which will serve a copy on all counsel of record.



July 6, 2017                                        /s/ James E. Fortin
                                                    James E. Fortin
                                                    Assistant Attorney General




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